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                         IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

         MARYLAND SHALL ISSUE,                          )
         INC., et al.,                                  )
                                                        )
               Plaintiffs,                              )
                                                        )        No. 23-1719
               v.                                       )
                                                        )
         MONTGOMERY                    COUNTY,          )
         MD,                                            )

               Defendant.

                    PLAINTIFFS-APPELLANTS’ MOTION FOR CLARIFICATION
                     AND ALTERNATIVE MOTION RENEWING PLAINTIFFS’
                      MOTION FOR AN INJUNCTION PENDING APPEAL

              Pursuant to Rule 27, FRAP, plaintiffs-appellants in the above captioned

        matter respectfully move this Court for an order that clarifies the Court’s August 3,

        2023, order in which the Court denied plaintiffs’ Rule 8 Emergency Motion for an

        Injunction Pending Appeal, filed July 17, 2023, Dkt. #10. Specifically, the Court

        stated: “Upon consideration of submissions relative to appellants’ emergency

        motion for injunctive relief pending appeal, the court denies the motion without

        prejudice to consideration of a future, timely motion.” Dkt. #21 (emphasis added).

        Alternatively, as detailed below, this Court may view this motion as a renewed

        motion for an injunction pending appeal.




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              This Court’s order does not state the basis or give any reason for the denial of

        plaintiffs’ motion for an injunction pending appeal. We understand from this order

        that the denial of the motion was “without prejudice” to the renewal of the motion,

        but plaintiffs are frankly at sea concerning the circumstances in which such a

        renewed motion would be considered. It appears that the Court may believe that a

        Rule 8 motion should have been first filed in district court so that the Court would

        have the benefit of the district court’s ruling on such motion. However, as detailed

        below, such an order is not possible for the simple reason that the district court has

        not given plaintiffs leave to file such a motion in district court, as expressly required

        by the case management order applicable to this case. District Court Dkt. #11.

              As explained in the motion, under the district court’s case management order

        “[n]o motions may be filed without first seeking a Pre-Motion Conference with the

        Court.” The case management order further provides that “[i]f a party intends to file

        a motion, it must first file a Notice of Intent to File a Motion (‘Notice’), which shall

        take the form of a letter to the Court, not to exceed three single-spaced pages,

        containing a brief description of the motion sought to be filed and a brief summary

        of the particularized factual and legal support for the motion.”

              In accordance with that order, plaintiffs filed, on July 8, 2023, precisely such

        a Notice of Intent to File with the district court requesting leave to file a Rule 8

        motion for an injunction pending appeal. District Court Dkt. #87. To this day, the


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        district court has not acted on that Notice. We note as well that the district court has

        not acted on a similar Notice of Intent to File submitted by the defendant,

        Montgomery County, MD, seeking leave to file a motion for summary judgment.

        That letter was filed on July 3, 2023, District Court Dkt. #81, just prior to the July 6,

        2023, order denying plaintiffs’ motion for a preliminary injunction.

              Indeed, it appears from the stamp on the upper right of the district court docket

        sheet stating APPEAL, LEAD, STAYED, that the case has been stayed at the district

        court, even though no actual order to that effect has been entered. A copy of that

        docket sheet was provided with the original motion. We surmise from the forgoing

        that the district court considers the case to be stayed and will not be considering any

        Rule 8 motion (or any other type of motion) and thus will not conduct a “Pre-Motion

        Conference” as contemplated by the case management order. That means no Rule 8

        motion for relief can be filed in district court.

              This Catch 22 conundrum brings us full circle to the original question

        concerning the circumstances in which the Court will consider a renewed motion for

        an injunction pending appeal. If the Court was waiting for the district court to opine

        on a Rule 8 motion first filed in district court, then that wait will likely be

        interminable, as the district court has not granted and apparently will not grant leave

        for plaintiffs to file such a Rule 8 motion in that court. And plaintiffs, understandably,

        are not willing to disobey the plain terms of that order and file without leave. Other


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        than after a district court ruling on a Rule 8 Motion, plaintiffs are aware of no

        circumstance in which plaintiffs could in good faith renew the motion for an

        injunction pending appeal. Yet, the Court’s order plainly contemplates such a

        “future, timely motion.” Accordingly, plaintiffs seek guidance and clarification from

        this Court concerning such circumstances.

              Alternatively, to the extent that the Court did not fully appreciate the forgoing

        circumstances and was, in fact, waiting for the district court to act, then this Court

        should then address the merits of plaintiffs’ Rule 8 motion. Rule 8 allows this Court

        to reach the merits of any such motion if “moving first in the district court would be

        impracticable” or where the district court has “failed to afford the relief requested.”

        Rule 8(a)(2)(A)(i),(ii). Either or both of those reasons apply here. Accordingly, this

        motion may be alternatively construed as a renewal of plaintiffs’ motion for an

        injunction pending appeal. That approach would be in the interests of justice and

        would accord fair treatment to the parties pursuant to the Court’s general “duty to

        decide” questions that are otherwise properly before this Court. See, e.g., Clinton v.

        City of New York, 524 U.S. 417, 436 (1998); Pierson v. Ray, 386 U.S. 547, 554

        (1967); United States v. Hamidullin, 888 F.3d 62, 73 (4th Cir. 2018).




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                                              CONCLUSION

              The motion for clarification should be granted or, alternatively, the Court

        should consider this motion as a renewed motion for an injunction pending appeal

        and grant such relief for the reasons set forth in the original motion and reply.

                                                      /s/ Mark W. Pennak
                                                      __________________________
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                                                      Bar No. 21033
                                                      Counsel for Plaintiffs

              Dated: August 4, 2023




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                              CERTIFICATE OF COMPLIANCE

                Pursuant to Rule 27(d) and Rule 32(g)(1) of the Federal Rules of Appellate

        Procedure, the undersigned counsel here certifies that the forgoing PLAINTIFFS-

        APPELLANTS’ MOTION FOR CLARIFICATION AND ALTERNATIVE

        MOTION RENEWING PLAINTIFFS’ MOTION FOR AN INJUNCTION

        PENDING APPEAL contains 952 words, not counting those items which may be

        excluded under Rule 32(f), and uses a 14 point, Times New Roman proportional

        font.


                                              /s/ Mark W. Pennak


                                              Mark W. Pennak,
                                              Counsel for Plaintiffs-Appellants
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                                   CERTIFICATE OF SERVICE

              The undersigned counsel hereby certifies that on August 4, 2023, the forgoing

        “PLAINTIFFS-APPELLANTS’             MOTION      FOR     CLARIFICATION        AND

        ALTERNATIVE MOTION RENEWING PLAINTIFFS’ MOTION FOR AN

        INJUNCTION PENDING APPEAL were served on all counsel via ECF service:


        s/ Mark W. Pennak
        __________________________
        MARK W. PENNAK
        Counsel for Plaintiffs-Appellants


        Dated: August 4, 2023
